UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF LOUISIANA

MINUTE ENTRY:
JUNE 9, 2011
JACKSON, J.

RAYMOND E. HECK,
DOUG HAMLEY, CHARLES
MOORE, JOSEPH MCKEARN,
and ALLEN RICHARDSON
CIVIL ACTION
VERSUS
NO. 07-21-BAJ-CN
KENNETH K. BUHLER,
WAYNE TRICHE, and
DARYL DEARMOND

This matter continues from June 8, 2011, for trial by jury.
PRESENT: Donaid L. Beckner, Esq.
Peter G. Carmichael, Esq.
Counsel for plaintiffs, Raymond E. Heck,
Doug Hamley, Charles Moore, Joseph
McKearn, and Allen Richardson
Claude F. Reynaud, Jr., Esq.
Carroll Devillier, Jr., Esq.
Counsel for defendant, Wayne Triche

R. Loren Kleinpeter, Esq.
Counsel for defendant, Daryl S. DeArmond

Kenneth Buhler
pro se defendant

Daryl DeArmond is sworn and testifies on behalf of plaintiffs.

Exhibits P-4 and T-39 are admitted into the record.

Plaintiffs rest.

Outside the presence of the jury, counsel for defendant, Wayne Triche, and

counsel for defendant, Daryl S. DeArmond, move for a Dismissal of Action under
Fed.R.Civ.P. 50.

Counsel present argument to the Court.

For reasons read into the record, the Court grants Motion for Dismissal of Action
under Fed.R.Civ.P. 50 as to defendant, Daryl S. DeArmond. The Court defers ruling on
Motion for Dismissal of Action under Fed.R.Civ.P. 50 by defendant, Wayne Triche.

Kenneth Buhler, having been previously sworn, presents his testimony to the
jury.

Defendant, Kenneth Buhler, rests.

Wayne Triche and Daryl S. DeArmond, having been previously sworn, testify on
behalf of defendant, Wayne Triche.

Exhibit P-48 is admitted into the record.

Defendant, Wayne Triche, rests.

Plaintiffs rest in rebuttal.

Counsel for defendant, Wayne Triche, re-urges his Motion for Dismissal of
Action under Fed.R.Civ.P. 50.

Court recesses for an in-chamber jury charge conference with counsel and pro
se defendant. Court reporter present.

For reasons read into the record, the Court denies the motion.

Counsel and pro se defendant present closing argument.

The Court instructs the jury and, at 3:36 p.m., the jury retires for deliberations.

Counsel for plaintiffs re-urge objections stated in jury charge conference.

Counsel for defendant, Wayne Triche, states no objection to jury charge.
Counsel for defendant, Wayne Triche, files Alternative Jury Instruction No. 29
into the record.

Defendant, Kenneth Buhler, states no objection to jury charge.

At 4:20 p.m., the Court responds in writing to jury’s question #1.

At 6:50 p.m., the Court responds in writing to jury’s question #2.

At 7:40 p.m., the jury returns and renders its verdict.

The verdict is read and filed into the record.

At request of counsel and pro se defendant, jury is not polled.

Jury is thanked by the Court and excused.

For reasons read into the record, the Court reserves acceptance of the jury’s
verdict.

Counsel and pro se defendant shall file a response to the jury’s verdict within

time limits allowed.

KRRERE

BRIAN A. JACKSON
UNITED STATES DISTRICT JUDGE
MIDDLE DISTRICT OF LOUISIANA

Clare Smith-Neely/reporter
cv22: 11 hrs
